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                 UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:        THE HONORABLE MARK A. BARNETT, CHIEF JUDGE
               THE HONORABLE CLAIRE R. KELLY, JUDGE
               THE HONORABLE JENNIFER CHOE-GROVES, JUDGE
________________________________________________
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                                                 :
In Re Section 301 Cases                          :      Court No. 21-00052
                                                 :
________________________________________________:

                                    JOINT STATUS REPORT

       Plaintiffs and defendants respectfully submit this Joint Status Report in light of questions

posed by the Court at the status conference held on September 1, 2021, and pursuant to the

Court’s order to submit any additional proposed modifications to the preliminary

injunction order by September 3, 2021. See ECF No. 377. We first set forth defendants’ position

below, followed by plaintiffs’ response.

                                   DEFENDANTS’ POSITION

       As explained in our most recent status report, see ECF No. 393, the government has no

choice in complying with the preliminary injunction other than adopting the Panel Majority’s

stipulation process, which requires plaintiffs to submit lists of Subject Entries to a Repository, as

required by the Court’s preliminary injunction order, after which U.S. Customs and Border

Protection (CBP) will stipulate to refund any duties if and to the extent such duties are found to

have been illegally collected at the conclusion of this litigation, including all appeals.

       However, as explained at the September 1, 2021 status conference, we defer to the Court

as to whether it wishes to retain the stipulation procedures set forth in the preliminary injunction

or relieve the plaintiffs of the requirement to submit lists of Subject Entries to a Repository. The

Repository, as we reported, is ready to receive the lists ordered by the Court. If the Court intends
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to maintain this requirement, we will submit final Repository Instructions by the September 10,

2021 deadline. See ECF No. 399.

       If the Court instead intends to modify the preliminary injunction in accordance with

plaintiffs’ proposal of August 31, 2021, see ECF No. 395, we propose replacing the language that

plaintiffs proposed on page 9 of their status report with the following language:

       ORDERED that in light of Defendants’ representation to the Court that it must
       accept the option to stipulate to refund any duties found to have been illegally
       collected for all Subject Entries, Defendants shall liquidate those entries in the
       ordinary course and, should the Court find that the List 3 and/or List 4A duties
       have been illegally collected, and should that decision become final and
       conclusive, including all appeals, Defendant shall reliquidate any Subject Entry in
       accordance with a final court decision in this case without the assessment of List 3
       and List 4A duties or otherwise refund to Plaintiffs such duties, with interest, as
       provided by law. This order shall only apply to entries that were unliquidated at
       the time of the preliminary injunction order, and to entries filed on or after July 6,
       2021, and in the event the List 3 and/or List 4A duties are found to have been
       illegally collected, refunds will only be issued to plaintiffs in the Section 301
       Cases that are the importers of record who paid the List 3 and/or List 4A duties.

       Plaintiffs object to the final sentence of the proposed language, which clarifies that the

Order regarding reliquidation and refunds applies only to plaintiffs who are importers of record

and who actually paid the contested duties to the Government. Plaintiffs’ objection makes no

sense, as it would be impossible to “refund” monies to a party other than the importer of record,

which submitted the entry and paid the duties to the Government. Only importers of record who

are plaintiffs could possibly seek reliquidation and, if approved by the courts, be directly affected

by any reliquidation. Any arrangements among private parties over who ultimately covered the

cost of the duties has nothing to do with the defendants or the reliquidation process.

       We also recognize the case management concerns addressed by the Court during the

September 1, 2021 status conference. Specifically, if plaintiffs do not define the scope of their

cases by submitting lists of Subject Entries to the Repository now, and the Court later finds that



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plaintiffs are entitled to refunds of section 301 duties, CBP will need time to perform the

resource-intensive task of making refund payments with respect to plaintiffs’ entries. In

attempting to comply with the preliminary injunction, we have already gained substantial

knowledge of the procedures and resources that will be required should reliquidation ultimately

become necessary. While any process for refunding section 301 duties at the conclusion of

litigation would be time-consuming and burdensome, CBP has created an ACE report that could

be modified to allow plaintiffs to gather and provide to CBP the entry and line level information

necessary to effectuate refunds, which would alleviate a portion of the burden in the event such a

process become necessary.

        However, in our view, plaintiffs are unlikely to succeed on the merits of the Section 301

cases, and no such resource-intensive task will be necessary. In light of the extensive resources

we have already dedicated to compliance with the preliminary injunction, unless ordered by the

Court, we have no reason to continue working on a reliquidation or refund process unless and

until the plaintiffs prevail on the merits. Given that we have already developed a process that

can later be used to allow plaintiffs to submit the necessary information, as well as the massive

amount of time and resources required for the Government to devise new technical capabilities,

the lack of funding available for new enhancements of CBP’s Automated Commercial

Environment (ACE), see Declaration of Executive Assistant Commissioner AnnMarie R.

Highsmith at ¶ 5, ECF No. 393-1, and the fact that these processes will be unnecessary should

we prevail on the merits, we wish to defer any further discussions with plaintiffs regarding how

refunds could be made at the conclusion of this litigation. This is especially true in light of the

Government’s current focus on developing the merits of our case, with the deadline for filing our

reply brief quickly approaching, and, as we anticipate, oral argument following shortly thereafter.



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Should discussions regarding refunds of section 301 duties and/or ACE capabilities become

necessary at a future date, following resolution of the merits, we will work with plaintiffs and the

Court, as we have done in other litigation analogs, to determine at that time any necessary

revisions to the process we have already developed.

                                    PLAINTIFFS’ POSITION

       Plaintiffs have already enumerated the reasons, both in our August 31 response and at the

September 1 status conference, as to why and how the PI order should be modified in light of

Defendants’ newly embraced categorical stipulation. Specifically, this Court should remove any

repository-related requirement that Plaintiffs submit entry-by-entry spreadsheets of Subject

Entries on an ongoing basis. Defendants offer no reason whatsoever for maintaining that now

unnecessary requirement, and Defendants do not object to its removal.

       Accordingly, this Court should adopt the amendment proposed in Attachment 1 of

Plaintiffs’ August 31 response. Alternatively, if this Court prefers, Plaintiffs are amenable to the

substitute language Defendants propose on page 2 of this status report, except for the last clause

of the last sentence. That clause states that “in the event the List 3 and/or List 4A duties are

found to have been illegally collected, refunds will only be issued to plaintiffs in the Section 301

Cases that are the importers of record who paid the List 3 and/or List 4A duties.” Although

Plaintiffs in this sample case (and, to our knowledge, in the vast majority of Section 301 cases)

are in fact the importers of record, one merits-stage amicus brief has raised that remedial issue

for certain other non-importer-of-record plaintiffs in stayed cases. See Amicus Curiae Br. of

Interested Parties, Doc. No. 362 (Aug. 9, 2021). That issue is not one that has been aired before

the Court in these preliminary injunction proceedings. This PI order, therefore, does not appear

to be the proper vehicle to resolve that distinct issue.



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           As to the case management issues raised by the Court, Plaintiffs stand ready to continue

to work with Defendants on streamlining the process for implementing the refund remedy in

preparation for the end of this litigation. We defer to the Court on the proper schedule for such

efforts.




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 Respectfully submitted,

 /s/ Matthew R. Nicely                            BRIAN M. BOYNTON
 Matthew R. Nicely                                Acting Assistant Attorney General
 Pratik A. Shah
 James E. Tysse                                   /s/ Jeanne E. Davidson
 Devin S. Sikes                                   JEANNE E. DAVIDSON
 Daniel M. Witkowski                              Director
 Sarah B. W. Kirwin
                                                  /s/ L. Misha Preheim
 AKIN GUMP STRAUSS HAUER & FELD LLP               L. MISHA PREHEIM
 2001 K Street, NW                                Assistant Director
 Washington, D.C. 20006
                                                  /s/ Justin R. Miller
Counsel to Plaintiffs HMTX Industries LLC,        JUSTIN R. MILLER
Halstead New England Corporation, Metroflor       Attorney-In-Charge,
Corporation, and Jasco Products Company           International Trade Field Office
LLC
                                                  /s/ Jamie L. Shookman
                                                  Trial Attorney
                                                  Commercial Litigation Branch
                                                  Civil Division
                                                  Department of Justice
                                                  26 Federal Plaza, Room 346
                                                  New York, NY 10278
                                                  Tel: 212-264-2107
                                                  Fax: 212-264-1916

                                                  SOSUN BAE
                                                  Senior Trial Counsel
                                                  ANN C. MOTTO
                                                  Trial Attorney
                                                  Commercial Litigation Branch
                                                  Civil Division
                                                  Department of Justice
                                                  P.O. Box 480
                                                  Ben Franklin Station
                                                  Washington, D.C. 20044


                                                  Attorneys for Defendants

Date: September 3, 2021




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